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8                                   UNITED STATES DISTRICT COURT
9                                  CENTRAL DISTRICT OF CALIFORNIA
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11     OLEG TARAN, et al.,                       )    Case No. CV 21-4301 FMO (RAOx)
                                                 )
12                         Plaintiffs,           )
                                                 )
13                  v.                           )    JUDGMENT
                                                 )
14     UNITED STATES CITIZENSHIP &               )
       IMMIGRATION SERVICES (USCIS), et          )
15     al.,                                      )
                                                 )
16                         Defendants.           )
                                                 )
17

18           Pursuant to the Court’s Order Re: Dismissal for Lack of Subject Matter Jurisdiction, filed
19     contemporaneously with the filing of this judgment, IT IS ORDERED THAT the above-captioned
20     action is dismissed without prejudice. The parties shall bear their own fees and costs.
21     Dated this 29th day of September, 2021.
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23                                                                            /s/
                                                                      Fernando M. Olguin
24                                                                United States District Judge
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